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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

Canvasfish.com, LLC,
a Montana Limited Liability Company,

       Plaintiff,                                      Case No.: 1:21-cv-03676
                                                       Hon. Virginia M. Kendall
               v.

JOHN DOES 1-XX,

      Defendants.
________________________________________________________________

PLAINTIFF’S CORRECTED EX PARTE MOTION FOR ENTRY OF A TEMPORARY
      RESTRAINING ORDER, INCLUDING A TEMPORARY INJUNCTION,
   TEMPORARY TRANSFER OF THE DOMAIN NAMES, TEMPORARY ASSET
               RESTRAINT, AND EXPEDITED DISCOVERY

       Plaintiff Canvasfish.com, LLC (“Plaintiff” or “Canvas”) seeks entry of an ex parte

temporary restraining order, including a temporary injunction against Defendants enjoining the

publication, manufacture, importation, distribution, offering for sale, and sale of unauthorized

products, a temporary transfer of the Domain Names, a temporary asset restraint, and expedited

discovery in an action arising out of 15 U.S.C. § 1114; Section 43(a) of the Lanham Act, 15

U.S.C. § 1125(a); and the U.S. Copyright Act, 17 U.S.C. § 101, et seq. A Memorandum of Law

in Support is filed concurrently with this Motion.



Respectfully submitted,
                                                     Canvasfish.com, LLC

Date: September 22, 2021
                                                     /s/ Amanda Osorio
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                              UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS

CANVASFISH.COM, LLC,
a Montana Limited Liability Company,
                                                             Case No.: 1:21-cv-03676
       Plaintiff,                                            Hon. Virginia M. Kendall

               v.

JOHN DOES 1-XX,

     Defendants.
_________________________________________________________________________________

  MEMORANDUM IN SUPPORT OF PLAINTIFF’S EX PARTE MOTION FOR ENTRY OF
  A TEMPORARY RESTRAINING ORDER, TEMPORARY TRANSFER OF THE
  DOMAIN NAMES, TEMPORARY ASSET RESTRAINT, AND EXPEDITED
  DISCOVERY

        Plaintiff Canvasfish.com, LLC (“Plaintiff” or “Canvasfish”) submits this Memorandum in

support of its Ex Parte Motion for Entry of a Temporary Restraining Order (“TRO”), including a

temporary injunction, a temporary transfer of the Domain Names, a temporary asset restraint, and

expedited discovery (the “Ex Parte Motion”).


                    I.    INTRODUCTION AND SUMMARY OF ARGUMENT

        Plaintiff requests temporary ex parte relief based on an action for trademark infringement,

counterfeiting, false designation of origin, and copyright infringement against the defendants

identified on Schedule “A” to the Complaint (collectively the “Defendants”). As alleged in

Canvasfish’s Complaint, Defendants are promoting, marketing, distributing, offering for sale, and

selling products, including clothing and fashion accessories, using infringing and counterfeit versions

of Canvasfish’s federally registered trademark, unauthorized copies of Canvasfish’s federally

registered copyrighted works and designs, or both (collectively, the “Unauthorized Canvasfish

Products”), through, at least, fully interactive e-commerce stores operating under several aliases and

at several domain names.



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        Defendants run a sophisticated counterfeiting operation and have targeted sales to Illinois

residents by setting up and operating e-commerce stores using one or more Seller Aliases through

which Illinois residents can view and purchase Unauthorized Canvasfish Products. The e-commerce

stores operating under the aliases share unique identifiers establishing a logical relationship between

them. Further, defendants attempt to avoid and mitigate liability by operating under one or more

Seller Aliases to conceal both their identities and the full scope and interworking of their operation.

Canvasfish is forced to file these actions to combat Defendants’ counterfeiting of its registered

trademark and infringement of its registered copyrights, as well as to protect unknowing consumers

from purchasing Unauthorized Canvasfish Products over the Internet. Defendants’ ongoing unlawful

activities should be immediately restrained, and Plaintiff Canvasfish respectfully requests that this

Court issue ex parte a Temporary Restraining Order.


                                   II.   STATEMENT OF FACTS

        A. Canvas’s Trademarks, Copyrights, and Products

        The Canvasfish business began in 2007 with the purpose of promoting the artistic works of

Derek DeYoung and marketing said works along with apparel and accessories upon which DeYoung’s

artistic works are placed. The Canvasfish business and Derek DeYoung’s artistic works are globally

and nationally renowned for their unique take on sport fishing species, particularly those popular

among fly-fishers. The business has continued to grow in reputation and goodwill due to widespread

acceptance by consumers. Exhibit A – Declaration of Derek DeYoung (the “DeYoung Declaration”)

at 3. The Canvasfish.com website prominently displays Canvasfish’s federally registered DEYOUNG

trademark, (Registration No. 6,157,362), as well as its federally registered copyrighted works.

Canvasfish includes the DEYOUNG mark on its website as a service mark for online retail services

featuring artwork, apparel, stickers, phone cases, drinkware, blankets, playing cards, boat wraps,

coasters, and coolers. Canvasfish also uses the DEYOUNG mark on many of its original works of art,



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namely paintings and drawings. The DEYOUNG mark serves as a source indicator at the point of sale

online, on product listing images, within product listing titles and descriptions, on the website banner,

and on the print copies of most artistic works sold through the website and at authorized physical retail

locations. Id. at 6. A true and correct copy of the United States registration certificate for the registered

DEYOUNG mark is attached to the DeYoung Declaration as Exhibit 1. The registration for the

DEYOUNG mark is valid, subsisting, and in full force and effect. DeYoung Declaration at 4. The

registration for the DEYOUNG mark constitutes prima facie evidence of its validity and of

Canvasfish’s exclusive right to use the registered DEYOUNG mark in commerce, pursuant to 15

U.S.C. § 1057(b).

        Canvasfish’s website is frequented by fly-fishing and art enthusiasts alike. The DEYOUNG

mark is well-known and distinctive in its application to online retail services offered by Canvasfish

and for its use on the original artistic works of Derek DeYoung. Services and Products bearing the

DEYOUNG mark signify to the consumer a high quality and dedication to detail. Id. at 4. Because the

DEYOUNG mark has achieved such high recognition and distinction among consumers, the goodwill

associated with the mark is of incalculable and inestimable value to Canvasfish.

        Canvasfish has also registered many of its copyrighted artistic works with the United States

Copyright Office (the “Canvasfish Copyrighted Works”). Id. at 7. Evidence of the U.S. federal

copyright registrations for the Canvasfish Copyrighted Works are attached to the DeYoung Declaration

as Exhibit 2. Among the exclusive rights granted to Canvasfish under the U.S. Copyright Act are the

exclusive rights to reproduce, prepare derivative works of, distribute copies of, display, and import

copies of the Canvasfish Copyrighted Works to the public.

        B. Defendants’ Unlawful Activities

        The success of Canvasfish’s business efforts and goodwill acquired over time has resulted in

the brand being targeted by counterfeiters. Id. at 8. Consequently, Plaintiff Canvasfish has invested

significant time, effort, and resources in investigating the infringement and counterfeiting efforts on


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the Internet. Id. Recently, Canvasfish has identified several fully interactive e-commerce stores,

including those operated by Defendants which were and/or are offering for sale and/or selling

Unauthorized Canvasfish Products to consumers within this Judicial District and throughout the United

States. Id. Canvasfish’s well-pleaded allegations regarding infringement by Defendants, including

similarities among the e-commerce stores operated by Defendants, the Unauthorized Canvasfish

Products sold thereon, and common tactics employed to evade enforcement efforts establish a logical

relationship among the Defendants and that the Defendants are an interrelated group of counterfeiters.

Id. at 11-13. If Defendants provide additional credible information regarding their identities,

Canvasfish will take appropriate steps to amend its Complaint.


                                          III.   ARGUMENT

        Defendants’ purposeful, intentional, and unlawful conduct is causing and will continue to cause

irreparable harm to Canvasfish’s reputation, and the goodwill symbolized by Canvasfish’s DEYOUNG

mark and the Canvasfish Copyrighted Works. Rule 65(b) of the Federal Rules of Civil Procedure

provides that the Court may issue and ex parte Temporary Restraining Order (“TRO”) where

immediate and irreparable injury, loss, or damage will result to the applicant before the adverse party

or that party’s attorney can be heard in opposition. Fed. R. Civ. P. 65(b). The entry of a TRO is

appropriate because it would immediately stop the Defendants from benefiting from their continued

wrongful use of the DEYOUNG mark and the Canvasfish Copyrighted Works and would preserve the

status quo until a hearing can be held.

        In the absence of a TRO without notice, Defendants can and likely will register new e-

commerce stores under new aliases and move any assets to offshore bank accounts outside the

jurisdiction of this Court. Courts have recognized that civil actions against counterfeiters present

special challenges that justify proceeding on an ex parte basis. See Columbia Pictures Indus., Inc. v.

Jasso, 927 F. Supp. 1075, 1077 (N.D. Ill. 1996) (observing that “proceedings against those who



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deliberately traffic in infringing merchandise are often useless if notice is given to the infringers”). As

such, Canvasfish respectfully requests that this Court issue the requested ex parte TRO.

        This Court has original subject matter jurisdiction over the claims in this action pursuant to the

provisions of the Lanham Act, 15 U.S.C. § 1051, et seq.; the Copyright Act, 17 U.S.C. § 501, et seq.;

28 U.S.C. §§ 1338(a)-(b); and 28 U.S.C. § 1331. Venue is proper pursuant to 28 U.S.C. § 1391.

        This Court may properly exercise personal jurisdiction over Defendants since Defendants

directly target business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, e-commerce stores. Specifically, Defendants have targeted sales to Illinois

residents by setting up and operating e-commerce stores that target United States consumers using one

or more aliases through which Illinois residents can purchase Unauthorized Canvasfish Products. See

Complaint at ¶ 4-5 [ECF 1]. See, e.g., Christian Dior Couture, S.A. v. Lei Liu et al., 2015 U.S. Dist.

LEXIS 158225, at 6 (N.D. Ill. Nov. 17, 2015) (personal jurisdiction proper over defendants offering to

sell alleged infringing product to United States residents, including Illinois; no actual sale

required). Each of the Defendants is committing tortious acts in Illinois, is engaging in interstate

commerce, and has wrongfully caused Canvasfish substantial injury in the State of Illinois.

        A. Standard for Temporary Restraining Order and Preliminary Inunction

        District Courts within this Circuit hold that the standard for granting a TRO and the standard

for granting a preliminary injunction are identical. See, e.g. Charter Nat’l Bank & Trust v. Charter

One Fin., Inc., No. 2001 WL 527404, at *1 (N.D. Ill. May 15, 2001) (citation omitted). A party

seeking to obtain a preliminary injunction must demonstrate: (1) that its case has some likelihood of

success on the merits; (2) that no adequate remedy at law exists; and (3) that it will suffer irreparable

harm if the injunction is not granted. See Ty, Inc. v. The Jones Group, Inc., 237 F.3d 891, 895 (7th

Cir. 2001).

        If the Court is satisfied that these three conditions have been met, then it must consider the

harm that the nonmoving party will suffer if preliminary relief is granted, balancing such harm against


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the irreparable harm the moving party will suffer if relief is denied. Id. Finally, the Court must

consider the potential effect on the public interest (non-parties) in denying or granting the injunction

Id. The Court then weighs all of these factors, “sitting as would a chancellor in equity,” when it

decides whether to grant the injunction. Id. (quoting Abbott Labs v. Mead Johnson & Co., 971 F.2d

6, 11 (7th Cir. 1992)). This process involves engaging in what the Court has referred to as “the sliding

scale approach” – the more likely the plaintiff will succeed on the merits, the less the balance of harms

need to favor the plaintiff’s position. Id.

        B. Canvasfish Will Likely Succeed on the Merits

               i.    Trademark Infringement, Counterfeiting, and False Designation of Origin

        A defendant is liable for trademark infringement and counterfeiting under the Lanham Act if

it, “without the consent of the registrant, use[s] in commerce, any reproduction, copy, or colorable

imitation of a registered mark in connection with the sale, offering for sale, distribution, or advertising

of any goods … which such use is likely to cause confusion, or to cause mistake, or to deceive.” 15

U.S.C. § 1114(1). Canvasfish’s Lanham Act claims involve all necessary elements to satisfy a finding

that Defendants are liable for trademark infringement and counterfeiting. See Packaging Supplies, Inc.

v. Harley-Davidson, Inc., No. 08 C 400, 2011 WL 1811446, at *5 (N.D. Ill. May 12, 2011). A Lanham

Act trademark infringement claim has two elements. See 15 U.S.C. § 1125(a). First, a plaintiff must

show “that its mark is protected under the Lanham Act.” Barbecue Marx, Inc. v. 551 Ogden, Inc., 235

F.3d 1041, 1043 (7th     Cir. 2000). Second, plaintiff must show that the challenged mark is likely to

cause confusion among consumers. Id.

        In this case, Canvasfish’s DEYOUNG mark is distinctive and is registered with the United

States Patent and Trademark Office. DeYoung Declaration at 5. The registration for the DEYOUNG

mark constitutes prima facie evidence of its validity and of Canvasfish’s exclusive right to the use of

the DEYOUNG mark in commerce pursuant to 15 U.S.C. § 1057(b). Canvasfish has not licensed or

authorized Defendants to use the DEYOUNG mark and none of the Defendants are authorized retailers


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of genuine Canvasfish Products. Id. at 9. Thus, Canvasfish satisfies the first element of its Lanham Act

claim.

         The Seventh Circuit has held that where “one produces counterfeit goods in an apparent attempt

to capitalize upon the popularity of, and demand for, another’s product, there is a presumption of a

likelihood of confusion.” Microsoft Corp. v. Rechanik, 249 F. App’x 476, 479 (7th Cir. 2007).

Therefore, the Court can presume a likelihood of confusion from Defendants’ unlawful use of the

DEYOUNG mark alone. The result is the same when considered in light of the Seventh Circuit’s seven

enumerated factors to determine whether a likelihood of consumer confusion exists, which include: (1)

similarity between the marks in appearance and suggestion; (2) similarity of the products; (3) area and

manner of concurrent use; (4) degree of care likely to be exercised by consumers; (5) strength of

complainant's mark; (6) actual confusion; and, (7) intent of the defendants to palm off their products

as that of another. AutoZone, Inc. v. Strick, 543 F.3d 923, 929 (7th Cir. 2008). No one factor is

dispositive, but the similarity of the marks, actual confusion, and the defendant’s intent are

“particularly important.” Id.

         Canvasfish has compiled and submitted extensive documentation showing that Defendants are

selling Unauthorized Canvasfish Products that look similar to authentic Canvasfish Products and use

infringing and counterfeit marks identical and confusingly similar to the DEYOUNG mark. DeYoung

Declaration at 10. Both Canvasfish and Defendants advertise and sell their products to consumers via

the Internet, targeting consumers looking for genuine Canvasfish Products. Id. Those consumers are

diverse with varying degrees of sophistication, and they are likely to have difficulty distinguishing

between genuine Canvasfish Products and Unauthorized Canvasfish Products. Defendants appear to

be intentionally attempting to induce consumers searching for genuine Canvasfish Products into

purchasing Unauthorized Canvasfish Products bearing the DEYOUNG mark. Accordingly, Canvasfish

is likely to establish a prima facie case of trademark infringement, trademark counterfeiting, and false

designation of origin.


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             ii.    Copyright Infringement

        The United States Copyright Act provides that “[a]nyone who violates any of the exclusive

rights of the copyright owner … is an infringer of the copyright.” 17 U.S.C. § 501. Among these

exclusive rights granted to Canvasfish under the Copyright Act are the exclusive rights to reproduce,

prepare derivative works of, distribute copies of, and display the Canvasfish Copyrighted Works to the

public. 17 U.S.C. § 106.

        To establish a claim for copyright infringement, a plaintiff must show: “(1) ownership of a

valid copyright, and (2) copying of constituent elements of the work that are original.” JCW Invs., Inc.

v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir. 2007) (internal citations omitted). Copying can be shown

through direct evidence, or it can be inferred where a defendant had access to the copyrighted work

and the accused work is substantially similar. Spinmaster, Ltd. v. Overbreak LLC, 404 F. Supp. 2d

1097, 1102 (N.D. Ill. 2005). To determine whether there is a substantial similarity that indicates

infringement, Courts use the “ordinary observer” test which asks whether “an ordinary reasonable

person would conclude that the defendant unlawfully appropriated protectable expression by taking

material of substance and value.” Id. A work may be deemed infringing if it captures the “total concept

and feel of the copyrighted work.” Id.

        With respect to the first element, Canvasfish is the owner of the relevant federally registered

copyrights. As to the second element, Defendants are willfully and deliberately reproducing the

Canvasfish Copyrighted Works in their entirety and are willfully and deliberately distributing copies

of the Canvasfish Copyrighted Works to the public by sale. Defendants’ unauthorized copies are

identical or substantially similar to the Canvasfish Copyrighted Works. This blatant and extensive

copying by Defendants infringes upon Canvasfish’s exclusive rights granted under 17 U.S.C. § 106.

As such, Canvasfish has proved it has a reasonable likelihood of success on the merits for its copyright

infringement claim.




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         C. There Is No Adequate Remedy at Law and Canvasfish Will Suffer Irreparable
            Harm in the Absence of Preliminary Relief

         The Seventh Circuit has “clearly and repeatedly held that damage to a trademark holder's

goodwill can constitute irreparable injury for which the trademark owner has no adequate legal

remedy.” Re/Max N. Cent., Inc. v. Cook, 272 F.3d 424, 432 (7th Cir. 2001) (citing Eli Lilly & Co. v.

Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir.2000)). Likewise, an injury to a copyright holder

that is “not easily measurable in monetary terms, such as injury to reputation or goodwill, is often

viewed as irreparable.” EnVerve, Inc. v. Unger Meat Co., 779 F. Supp. 2d 840, 844 (N.D. Ill. 2011).

Irreparable injury “almost inevitably follows” when there is a high probability of confusion because

such injury “may not be fully compensable in damages.” Helene Curtis Industries, Inc. v. Church &

Dwight Co., Inc., 560 F.2d 1325, 1332 (7th Cir. 1977) (citation omitted). “The most corrosive and

irreparable harm attributable to trademark infringement is the inability of the victim to control the

nature          and           quality           of           the          defendants’             goods.”

Int’l Kennel Club of Chicago, Inc. v. Mighty Star, Inc., 846 F.2d 1079, 1092 (7th Cir. 1988). As such,

monetary damages are likely to be inadequate compensation for such harm. Ideal Indus., Inc. v.

Gardner Bender, Inc., 612 F.2d 1018, 1026 (7th Cir. 1979).

         Defendants’ unauthorized use of Canvasfish’s DEYOUNG mark has and continues to

irreparably harm Canvas through diminished goodwill and brand confidence, damage to Canvasfish’s

reputation, and loss of future sales. DeYoung Declaration at 14-18. Defendants’ advertising and work

to increase traffic to their websites, including e-commerce storefronts using Seller Aliases, is and will

continue to permanently damage Canvasfish’s own Search Engine Optimization (“SEO”) and website

traffic it has worked to build over the life of the business. The extent of the harm to Canvasfish’s

reputation and goodwill, and the probable diversion of customers due to loss in brand confidence and

damage to SEO are both irreparable and incalculable, thus warranting an immediate halt to Defendants’

infringing      activities      through        injunctive      relief.      Id.      at       ¶       15.



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See Promatek Industries, Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002) (finding that

damage to plaintiff’s goodwill was irreparable harm for which plaintiff had no adequate remedy at

law). Canvasfish will suffer immediate and continued irreparable injury, loss, or damage if an ex parte

TRO is not issued in accordance with Federal Rule of Civil Procedure 65(b)(1). DeYoung Declaration

at 20.

         D. The Balancing of Harms Tips in Canvasfish’s Favor and the Public Interest Is
            Served by Entry of the Injunction

         As noted above, if the Court is satisfied that Canvasfish has adequately demonstrated (1)

a likelihood of success on the merits, (2) no adequate remedy at law, and (3) the threat of irreparable

harm if preliminary relief is not granted, then it must next consider the harm that Defendants will suffer

if preliminary relief is granted, balancing such harm against the irreparable harm that Canvasfish will

suffer if relief is denied. Ty, Inc., 237 F.3d at 895. As willful infringers, Defendants are entitled to little

equitable consideration. “When considering the balance of hardships between the parties in

infringement cases, courts generally favor the trademark owner.” Krause Int’l Inc. v. Reed Elsevier,

Inc., 866 F. Supp. 585, 587-88 (D.D.C. 1994). This is because “[o]ne who adopts the mark of another

for similar goods acts at this own peril since he has no claim to the profits or advantages thereby

derived.” Burger King Corp. v. Majeed, 805 F. Supp. 994, 1006 (S.D. Fla. 1992) (internal quotation

marks omitted). Therefore, the balance of harms “cannot favor a defendant whose injury results from

the knowing infringement of the plaintiff's trademark.” Malarkey-Taylor Assocs., Inc. v.

Cellular Telecomms. Indus. Ass’n, 929 F. Supp. 473, 478 (D.D.C. 1996).

         As Canvasfish has demonstrated, Defendants have been profiting from the sale of

Unauthorized Canvasfish Products. Thus, the balance of equities tips decisively in Canvasfish’s favor.

The public is currently under the false impression that Defendants are operating their e-commerce

stores with Canvasfish’s approval and endorsement. In this case, the injury to the public is great, and

the injunctive relief that Canvasfish seeks is specifically intended to remedy that injury by dispelling



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the public confusion created by Defendants’ actions of infringement. As such, equity requires that

Defendants be ordered to cease their unlawful conduct.

               IV.     THE EQUITABLE RELIEF SOUGHT IS APPROPRIATE

       The Lanham Act authorizes courts to issue injunctive relief “according to the principles of

equity and upon such terms as the court may deem reasonable, to prevent the violation of any right of

the registrant of a mark ….” 15 U.S.C. § 1116(a).

       A. An Order Immediately Enjoining Defendants’ Unauthorized and Unlawful Use of
          the Canvasfish Mark and Canvasfish Copyrighted Works Is Appropriate

       Canvasfish requests a temporary injunction requiring Defendants to immediately cease all use

of Canvasfish’s DEYOUNG mark or substantially similar marks and/or copying and distribution of

the Canvasfish Copyrighted Works, on or in connection with all e-commerce stores operating under

the Seller Aliases. Such relief is necessary to stop the ongoing harm to Canvasfish and the DEYOUNG

mark and associated goodwill, as well as harm to consumers, and to prevent the Defendants from

continuing to benefit from their unauthorized use of the DEYOUNG mark and/or copying and

distribution of the Canvasfish Copyrighted Works. The need for ex parte relief is magnified in today’s

global economy where counterfeiters can operate anonymously over the Internet. Canvasfish is

currently unaware of both the true identities and locations of the Defendants, as well as other e-

commerce stores used to distribute Unauthorized Canvasfish Products. Many courts have authorized

immediate injunctive relief in similar cases involving the unauthorized use of trademarks and

counterfeiting. See, e.g., Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249

(N.D. Ill. Apr. 4, 2015) (unpublished) (order granting ex parte Motion for Temporary

Restraining Order).

       B. Transferring the Defendant Domain Names to Canvasfish Is Appropriate

       As part of the TRO, Canvasfish also seeks temporary transfer of the Domain Names to

Canvasfish’s control in order to disable the counterfeit websites and electronically publish notice of



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this case to Defendants. Defendants involved in domain name litigation easily can, and often will,

change the ownership of a domain name or continue operating the website while the case is pending.

Accordingly, to preserve the status quo and ensure the possibility of eventual effective relief, courts in

trademark cases involving domain names regularly grant the relief requested herein. See,

e.g., Deckers Outdoor Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015)

(unpublished). As such, Canvasfish respectfully requests that, as part of the TRO, the Court require the

relevant registries and/or registrars for the Domain Names to transfer the Domain Names to

Canvasfish.

         C. Preventing the Fraudulent Transfer of Assets Is Appropriate

         Canvasfish requests an ex parte restraint of Defendants’ assets to ensure an equitable

accounting of Defendants’ profits from sales of Unauthorized Canvasfish Products unimpaired by

fraudulent transfer. Canvasfish has also filed a Motion to file under Seal in accordance with this goal.

Issuing and ex parte restraint will ensure Defendants’ compliance. If such a restraint is not granted in

this case, Defendants will likely disregard their responsibilities and fraudulently transfer financial

assets to overseas accounts before a restraint is ordered. Specifically, on information and belief, the

Defendants in this case are residents of China and hold most of their assets in offshore accounts,

making     it   easy   to   hide   or   dispose   of    assets,   which   will   render   an   accounting

by Canvasfish meaningless.

         Courts have the inherent authority to issue a prejudgment asset restraint when plaintiff’s

complaint seeks relief in equity. Animale Grp. Inc. v. Sunny’s Perfume Inc., 256 F. App’x 707, 709

(5th Cir. 2007). In addition, Canvas has shown a strong likelihood of succeeding on the merits of its

trademark infringement, trademark counterfeiting, and unfair competition claims, so according to the

Lanham Act 15 U.S.C. § 1117(a)(1), Canvasfish is entitled, “subject to the principles of equity, to

recover . . . defendant’s profits.” Similarly, Canvasfish has shown a strong likelihood of succeeding on

the merits of its copyright infringement claim, and therefore is entitled to recover “. . . any profits of


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the infringer that are attributable to the infringement.” 17 U.S.C. § 504(b). Canvasfish’s complaint

seeks, among other relief, that Defendants account for and pay to Canvasfish all profits realized by

Defendants by reason of Defendants’ unlawful acts. Therefore, this Court has the inherent equitable

authority to grant Canvasfish’s request for a prejudgment asset freeze to preserve relief sought by

Canvasfish.

           The Northern District of Illinois in Lorillard Tobacco Co. v. Montrose Wholesale

Candies entered an asset restraining order in a trademark infringement case brought by a tobacco

company against owners of a store selling counterfeit cigarettes. Lorillard Tobacco Co. v.

Montrose Wholesale Candies, 2005 WL 3115892, at *13 (N.D. Ill. Nov. 8, 2005). The Court recogni

zed that     it was   explicitly allowed to   issue a restraint   on assets   for lawsuits seeking equitable

relief. Id. (citing Grupo Mexicano de Desarollo, S.A. v. Aliance Bond Fund, 527 U.S. 308, 325

(1999)). Because the tobacco company sought a disgorgement of the storeowner’s profits, an equitable

remedy, the Court found that it had the authority to freeze the storeowner’s assets. Id.

           Canvasfish has shown a likelihood of success on the merits, an immediate and irreparable harm

suffered as a result of Defendants’ activities, and that, unless Defendants’ assets are frozen, Defendants

will likely hide or move their ill-gotten funds to offshore bank accounts beyond the reach of this

jurisdiction. Accordingly, an asset restraint is proper.

           D. Canvasfish Is Entitled to Expedited Discovery

           The United States Supreme Court has held that “federal courts have the power to order, at their

discretion, the discovery of facts necessary to ascertain their competency to entertain the

merits.” Vance v. Rumsfeld, No. 1:06-cv-06964, 2007 WL 4557812, at *6 (N.D. Ill. Dec. 21, 2007)

(quoting Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351, 98 S.Ct. 2380 (1978)). Courts have

wide latitude in determining whether to grant a party's request for discovery. Id. (citation omitted).

Further, courts have broad power over discovery and may permit discovery in order to aid in the

identification of unknown defendants. See Fed. R. Civ. P. 26(b)(2).


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        Canvasfish respectfully requests expedited discovery to discover bank and payment system

accounts Defendants use for their counterfeit sales operations. The expedited discovery requested in

Canvasfish’s Proposed TRO, attached to Plaintiff’s Motion as Exhibit A, is limited to include only

what is essential to prevent further irreparable harm. Discovery of these financial accounts so that they

can be frozen is necessary to ensure that these activities will be contained. See, e.g., Deckers Outdoor

Corporation v. The Partnerships, et al., No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished).

Canvasfish’s seizure and asset restraint may have little meaningful effect without the requested relief.

Accordingly, Canvasfish respectfully requests that expedited discovery be granted.


                 V.    A BOND SHOULD SECURE THE INJUNCTIVE RELIEF

        The posting of security upon issuance of a temporary restraining order or preliminary

injunction is vested in the Court’s sound discretion. Rathmann Grp. v. Tanenbaum, 889 F.2d 787, 789

(8th Cir. 1989). Because of the strong and unequivocal nature of Canvasfish’s evidence of

counterfeiting, trademark infringement, and copyright infringement, Canvasfish respectfully requests

that this Court require Canvasfish to post a bond of no more than ten thousand U.S. dollars ($10,000.00)

at such time the Court re-opens for in-person civil proceedings. See, e.g., Deckers Outdoor Corp. v.

The Partnerships, et al. No. 15-cv-3249 (N.D. Ill. April 4, 2015) (unpublished) (referencing the

appropriate nature of the $10,000 bond).


                                        VI.    CONCLUSION

        Defendants’ unlawful operations are irreparably harming Canvasfish’s business, its distinctive

DEYOUNG brand, and consumers. Without entry of the requested relief, Defendants’ advertising and

sale of Unauthorized Canvasfish Products will continue to lead prospective purchasers and others to

believe that defendant’s Unauthorized Canvasfish Products have been manufactured by or emanate

from Canvasfish, which in fact, they have not. Therefore, entry of an ex parte order is necessary in this




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case. In view of the foregoing and consistent with previous similar cases, Canvasfish respectfully

requests that this Court enter a Temporary Restraining Order in the form submitted herewith.

Respectfully submitted,

Date: September 22, 2021                      Canvasfish.com, LLC

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                                    Certificate of Service

       I hereby certify that on the date below I electronically filed the foregoing with the

Clerk of the Court for the United States District Court for the Northern District of Illinois,

Eastern Division, by using the CM/ECF system.                I will electronically publish the

documents on a website to which the Domain Names have been transferred to Plaintiff’s

control now redirects, and to which the non-Domain Defendants have previously been directed

and served.

                                           Respectfully submitted,

Date: September 22, 2021                   /s/ Amanda Osorio
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